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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                      CORPUS CHRISTI DIVISION

IN RE:                           §
SOUTHWEST RANCHING, INC.,        §       CASE NO. 01-23337-C-11
DEBTOR,                          §       (CHAPTER 11)
__________________________________________________________________

   RECEIVER MARCUS ROGERS’ RESPONSE TO MOTION FOR
 LEONARD HOSKINS; MARCUS ROGERS, RECEIVER; AND THEIR
 ATTORNEYS TO APPEAR AND SHOW CAUSE WHY THEY SHOULD
  NOT BE HELD IN CONTEMPT FOR VIOLATING THIS COURT’S
                      INJUNCTION


TO THE HONORABLE BANKRUPTCY COURT:

      Marcus Rogers, Receiver (“Rogers”), files this Response to Cliff Hoskins’

Motion for Leonard Hoskins; Marcus Rogers, Receiver; and Their Attorneys to

Appear and Show Cause Why They Should Not be Held in Contempt for Violating

This Court’s Injunction.

                                I. Introduction

      Cliff Hoskins has spent years using the Bankruptcy Court’s anti-suit

injunction as a weapon to protect his conversion (and possibly his mother’s) of an

estate and trust. The 2002 Settlement and the Court’s Injunction were intended to

bring an end to certain ongoing contentious litigation among family members, but

the 2002 Settlement left Cowboy Hoskins’ Estate largely intact with his Residuary

Trust as the Estate’s beneficiary. After the 2002 Settlement, Cliff and his mother
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(either purposefully or because of Cliff’s wrongdoing) simply stole the rest of the

Estate’s and Residuary Trust’s assets.

      Cliff’s brother, Leonard Hoskins (“Len”), tried to correct this injustice, but

was rebuffed for lack of standing (and, possibly, limitations).       Now that the

Receiver holds the claims of the Residuary and Marital Trusts, possesses the

standing to do what Len could not, and carries authorization by the Probate Court

to sue, Cliff attempts to use the injunction as both sword and shield to protect his

post-settlement wrongdoing.

                                 II. Background

   • Cowboy Hoskins (“Cowboy”) died leaving a July 20, 1982 Will. The Will

      appointed his wife, Hazel (“Hazel”), as executor, and Hazel and a bank as

      co-trustees of the Residuary Trust and the Marital Trust (Ex 8). The Marital

      Trust could only be funded after the Residuary Trust was funded. Hazel

      swore in the estate tax return that only the Residuary Trust would receive

      assets and that the Marital Trust would not be funded (Ex 9).

   • Cowboy Hoskins’ Estate is being administered in the County Court in Live

      Oak County under Cause No. 1785. When litigation was initiated in the

      probate proceeding in 2013, a retired statutory probate judge, Joe Loving,

      was appointed to handle Cowboy’s Estate and the related litigation (the

      “Probate Court”).
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• Cowboy had three sons: Cliff, Len, and Lee Roy. Litigation ensued by Lee

  Roy against his mother and Cliff. Someone caused Southwest Ranching,

  Inc. to seek bankruptcy protection and the family litigation was pulled into

  the bankruptcy proceeding. A family settlement was reached in 2002 (Ex

  10). The Bankruptcy Court entered an order approving the settlement and

  entered an anti-suit injunction (Ex 1).

• In the 2002 Settlement (Ex 10) and a subsequent Mutual Indemnity and

  Release (Ex 11), Cliff released any claims that he had against, among others,

  Hoskins, Inc., an asset of the Estate and Residuary Trust. Within months

  following the settlement, Cliff, who was running Hoskins, Inc., claimed that

  Hoskins, Inc. owed him hundreds of thousands of dollars even though he

  had released any such claims as part of the settlement. Cliff caused Hoskins,

  Inc. to “sell” him a valuable ranch for this fictitious released debt. At that

  time, Hoskins, Inc. was owned by either the Estate and Hazel, or the

  Residuary Trust and Hazel. This is just one example of the post-settlement,

  post-injunction claims that Rogers intends to pursue (Ex 6).

• Years later, Len tried to sue Cliff, and later Hazel, over the ranch

  transaction. The case was arbitrated and Cliff succeeded in blocking Len’s

  claims due to lack of standing or limitations (Ex 12, pp. 3-4). The claims

  related to the ranch transaction were not resolved on their merits.
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• The arbitrator appointed Rogers as a receiver for the Residuary and Marital

   Trusts (Ex 4).

• The Bankruptcy Court allowed litigation against Hazel in the Probate Court

   in Live Oak County, where Statutory Probate Court Judge, Joe Loving, was

   presiding (Ex 3).

• The Bankruptcy Court specifically determined that the permanent injunction

   did not apply to Rogers, and Rogers joined the lawsuit in the Probate Court

   (Ex 2).

• Hazel, who was likely incompetent (and was being represented by Cliff via a

   power of attorney), resigned as trustee, and the probate litigation ground to a

   halt while a state district judge was tasked with searching for potential

   successor trustees (a requirement of Cowboy’s Will). Hazel has since died.

   After a lengthy delay, the probate litigation re-started, and Rogers was

   ultimately appointed as receiver for the Residuary and Marital Trusts by the

   Probate Judge. Rogers was initially ordered to prepare a report (Ex 5).

• Cliff appealed the Probate Court’s appointment of Rogers in Cause No. 13-

   15-00487-CV in the Thirteenth Court of Appeals.          The Court affirmed

   Rogers’ appointment on September 8, 2016 (Ex 13).

• Rogers filed his report describing numerous claims against Cliff and Hazel’s

   Estate (Ex 14), Rogers then asked the Probate Court for authority to file the
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      attached petition (or something similar) against Cliff and Hazel’s Estate (Ex

      6). Cliff opposed any expanded authority (Ex 15); however, the Probate

      Court specifically authorized Rogers to file suit against Cliff and Hazel’s

      Estate (Ex 7). However, Rogers’ new lawsuit has not yet been filed.

   • Rogers’ proposed petition (Ex 6) asserts claims against Cliff, Hazel’s Estate,

      and other descendants of Cowboy Hoskins relating to properties they have

      wrongfully appropriated after the 2002 Settlement, assets which rightfully

      belong to the Estate and/or the Residuary Trust.

                                  III. Response

A. Summary of the Response

      The Motion to Show Cause, and, in particular, the attempt to hold Rogers

and his counsel in contempt, is meritless – indeed it is frivolous – for numerous

reasons.

      First, the Bankruptcy Court has already held that the injunction did not apply

to Rogers (Ex 2).

      Second. Cliff argues that the Court must look behind the previous orders to

understand what they mean, but injunctions and orders must be specific on their

face in order to enforce them for contempt; and injunctions must be strictly and

narrowly construed based on the language actually contained in the injunction

itself, not on some “legislative history” or “hidden meaning”.
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         Third, the Bankruptcy Court has already authorized litigation in Live Oak

County in which Rogers is participating (Ex 3).

         Fourth, on its face, the injunction does not even apply to Rogers (Ex 1).

         Fifth, Cliff’s allegation that Rogers is also bound by the injunction because

he has acted in concert with Len is frivolous and ignores the fact that Rogers holds

the claims of the Estate and Trust, not Len. Rogers is pursuing his own claims, not

Len’s.

         Sixth, Rogers cannot be in contempt even if the injunction arguably applies,

because Rogers has not yet filed any litigation other than that which has already

been authorized by this Court. The injunction, even if applicable, only applies to

the actual filing of litigation – which simply has not happened.

         Seventh, the Probate Exception prevents the Bankruptcy Court from

enforcing an injunction which interferes with the Probate Court’s jurisdiction over

the res of the estate and its testamentary trusts.

         The attempt by Cliff to claim that the injunction was violated, when it

clearly was not, is simply an attempt to induce this Court to expand the nature and

scope of the injunction beyond what was intended and what is within the proper

purview of the Court. Accordingly, in the alternative, if the Court believes that the

injunction arguably applies to Rogers pursuing the new claims, the Court should

clarify or lift the injunction to allow Rogers to prosecute his claims against Cliff,
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Hazel’s Estate, and other Hoskins family members.

B. The Bankruptcy Court Has Already Held That The Injunction Does
   Not Apply To Rogers

      This Court has already held that the injunction does not apply to Rogers. On

October 30, 2013, the Court specifically stated,

      “nor does the injunction apply to the receiver, Marcus P. Rogers,
      appointed pursuant to the arbitrator’s order appointing receiver issued
      on April 16, 2013, or any successor receiver.” (Ex 2)

The October 30, 2013 order is clear. Having already stated that the injunction did

not apply to Rogers, the Court later recognized that Rogers had filed suit in the

Probate Court and noted that the pendency of Rogers’ lawsuit made it appropriate

for all issues to be decided in that court. The Bankruptcy Court specifically lifted

the injunction for another Party (Rex Hoskins) to participate in the Probate Court

litigation (December 17, 2013 Opinion & Order, Ex 3).

      The October 30, 2013 order, coupled with the December 17, 2013 opinion

and order, make it clear that Cliff’s action to hold Rogers and his counsel in

contempt, much less sanction them, is frivolous. Indeed, it is readily apparent that

Cliff’s motion is brought for an improper purpose – to use the Court as a weapon

to keep Rogers from fulfilling his duties to the Probate Court.

C. Cliff’s “Context” Argument Is Irrelevant To The Injunction – It Is What
   It Says It Is And Cannot Be More

      To circumvent the clear holding of the October 30, 2013 Order, Cliff argues
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that the Court must look behind the October 30 Order and understand the “context”

under which it was entered. The attempt to engraft some sort of “legislative

history” on the terms and language of the injunction is misplaced, and violates

fundamental legal principles. The Court’s orders, particularly injunctions, are what

they are; say what they say; and the language of the injunction cannot be expanded

by reading between the lines to enjoin someone or hold someone in contempt;

especially when Rogers was specifically told by the Court that the injunction did

not apply to him. Rogers cannot be held to have violated an injunction where he

has to read between the lines or second-guess the plain meaning of this Court’s

October 30, 2013 Order.

      The law is clear. “A party commits contempt when he violates a definite

and specific order of the court requiring him to perform or refrain from

performing a particular act or acts with knowledge of the court’s order.”

Travelhost, Inc. v. Blandford, 68 F.3d 958, 961 (5th Cir. 1995) (quoting from

Securities and Exchange Commission v. First Financial Group of Texas, Inc., 659

F.2d 660, 669 (5th Cir. 1981)) (emphasis added).

      Nevertheless, Cliff asks the Court to look behind the October 30, 2013 Order

to sanction Rogers (and his counsel). Cliff argues that Judge Schmidt did not mean

what he said when he wrote that the injunction did not apply to Rogers. Cliff tries

to read Judge Schmidt’s mind, and claims that Judge Schmidt was really just
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holding that the injunction did not apply because Rogers was not then pursuing

litigation. To make that argument, in addition to mind-reading, Cliff has to ignore

the December 17, 2013 Order in which Judge Schmidt specifically recognized that

Rogers had actually filed litigation1 in the Probate Court and still did not find that

Rogers was violating the injunction.

       Indeed, not only does Cliff refrain from discussing the December 17, 2013

Order, it is conveniently missing from his exhibits.                Having stated that the

injunction did not apply to Rogers; having recognized that Rogers had already filed

litigation in the Probate Court, and having authorized others to join it, it is

inconceivable how one could argue that Judge Schmidt meant something other

than what he wrote.

D. On Its Face, The Injunction Does Not Apply To Rogers

       The injunction specifically applies only to the “Parties” (Ex 1). Rogers

acknowledges that under Federal Rules of Civil Procedure, Rule 65(d) and

common law, an injunction can also bar nonparties who have notice of the

injunction and who are (A) the parties’ officers, agents, servants, employees, and

attorneys; or (B) who are in active concert or participation with an enjoined party.

       The purpose of the rule is to prevent parties from nullifying “a decree by


1
  Referring to the original litigation in 2013. The reality is that Rogers can also file his new
claims as counterclaims as crossclaims in that original lawsuit.
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carrying out prohibited acts through aiders and abettors, although they were not

parties to the original proceeding.” Waffenschmidt v. MacKay, 763 F.2d 711, 717

(5th Cir. 1999) (quoting from Regal Knitware Co. v. National Labor Relations

Board, 324 U.S. 9, 14, 65 S.Ct. 478, 481, 89 L.Ed. 661 (1945).

      Rogers acknowledges that he has had notice of the injunction. But Rogers is

not named in the injunction and was not a Party, nor is he a Party’s officer, agent,

servant, employee, or attorney. Consequently, the only way the injunction could

apply to Rogers is if he is “in active concert or participation” with a Party to assist

that Party to violate the injunction. Cliff claims that, because Len previously paid

Rogers’ fees and expenses; because Rogers has met with Len and his counsel;

because Rogers has driven to Live Oak County with Len’s counsel; and because

Rogers has fraternized with them (at lunch); he is in active concert or participation

with them to violate the injunction.

      Rogers does not dispute that, for a period of time, Len paid his fees and

expenses as ordered by the arbitrator. That fact is well-known and was well-

known in October and December of 2013, too, when Judge Schmidt held that the

injunction did not apply to Rogers. Nor does Rogers dispute that he has frequently

talked with Len and his counsel, driven to hearings with Len’s counsel, and even

had lunch with Len and his counsel after hearings in Live Oak County. But none

of this brings Rogers under the purview of the injunction as a person “in active
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concert or participation” to assist Len in violating the injunction.

      The gist of that rule is that Len cannot use someone, like Rogers, to do what

he cannot do. But Rogers has his own independent claims. It is ironic that Cliff

now claims that Rogers is in active concert and participation with Len to pursue

claims that Len, by Cliff’s own admission, does not even own. Cliff prevailed on

his claim that Len lacked standing to pursue the claims (Ex 12). Now, Cliff tries to

argue that the actual owner of the claims cannot assert them because he would be

aiding and abetting Len. That kind of circular logic is nonsensical. Rogers holds

claims that Cliff admits Len did not hold.

      Even though Rogers’ claims may be similar to the claims Len attempted to

assert (if he owns any), or may be claims that Len encourages Rogers to pursue, or

may be claims that Len tries to help Rogers pursue, the fact that Rogers holds these

claims, independent of Len, removes Rogers from the umbrella of persons “in

active concert or participation”.

      Federal courts universally accept the rule that nonparties who assert their

own independent rights are not subject to the expanded scope of Rule 65(d) as

aiders and abettors. In Parker v. Ryan, 960 F.2d 543, 546 (5th Cir. 1992), the

Court addressed the ability of the district court to enjoin nonparties under Rule

65(d) and stated, “conversely, ‘if a nonparty asserts an independent interest in the

subject property and is not merely acting on behalf of the defendant, then Rule
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65(d) does not authorize jurisdiction over the party’” (quoting Waffenschmidt, 763

F.2d at 718). Because Rogers is asserting his independent rights by asserting the

claims, then Rule 65(d) cannot subject him to enforcement of the injunction as an

aider and abettor.

      A similar case, dealing with the right to assert claims in a lawsuit, is Doctors

Associates, Inc. v. Reinert & Duree, P.C., 191 F.3d. 297 (2nd Cir. 1999), which

held that a court could not enforce an injunction against nonparty franchisees who

were asserting their own legal rights, even though the nonparty franchisees’ claims

were identical to the enjoined franchisees’ claims and that were represented by the

same lawyer.

      Also, underscoring the lack of merit in Cliff’s argument that Rogers is just

“aiding and abetting” Len is Rogers’ expressed intention to sue Len. In the draft

petition that Rogers submitted to the Probate Court, Rogers has proposed suing

Len for the recovery of estate and trust property that Len has improperly received

from Hazel. Suing Len is the antithesis of acting in concert with Len.

E. Cliff Is Not Entitled To Discovery On His Aiding And Abetting Claim

      Cliff has asked the Court to allow him to conduct discovery concerning the

interaction between Rogers, his counsel, and others (including Len and his

counsel). The point would be to produce evidence to support Cliff’s aiding and

abetting claim (active concert and participation).      As noted above, Rogers is
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asserting his own claims rather than helping Len to assert Len’s claim. Thus, the

discovery would be irrelevant.       Furthermore, there is no dispute to justify

discovery, since Rogers acknowledges that Len paid him for a time pursuant to the

arbitration order; that he has driven to hearings with Len’s counsel; that he has

received documents and background information from Len and his counsel; and

that he has had lunch with Len and his counsel after some Probate Court hearings.

         The Court should also take note that Cliff already lost the argument that

Rogers’ alleged bias in favor of Len rendered Rogers an unsuitable receiver. In his

appeal of Rogers’ appointment by the Probate Court, Cliff claimed that Len’s fee

payments, the meetings, the lunches, and the sharing of information all rendered

Rogers unsuitable and biased, making the Probate Court’s appointment of Rogers

an abuse of discretion. The Court of Appeals specifically rejected Cliff’s bias

argument (Ex 13).

F. Rogers Simply Has Not Violated The Injunction

         Rogers (and his counsel) cannot be held in contempt because he has not

violated the injunction, even if applicable. The injunction enjoins the instigation or

continuation of litigation. While Rogers has been authorized to file the new claims

by the Probate Court, he has not filed it. Accordingly, he cannot be held in

contempt nor sanctioned for instigating or continuing litigation which he has not

filed.
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      However, while the Court cannot hold Rogers (or his counsel) in contempt

or sanction them for violating the injunction, Rogers does not wish to even

arguably violate the injunction.     Accordingly, if the Court believes that the

injunction is unclear or somehow could be read to preclude Rogers from filing the

Probate Court-authorized lawsuit, then Rogers welcomes that clarification and

instruction from the Court.

G. The Probate Exception Leaves The Court Without Jurisdiction To Issue
   Or Enforce An Injunction Relating To The Administration And
   Settlement Of The Probate Estate

      Even if the injunction applied to Rogers and his planned lawsuit,

enforcement of the injunction against Rogers would be precluded by the Probate

Exception, under the facts of this case. The Probate Exception eliminates federal

court jurisdiction on certain matters that are properly within the exclusive purview

of state probate courts. In Marshall v. Marshall, 547 U.S. 293, 299, 310, 126 S.

Ct. 1735, 164 L. Ed. 2d 480 (2006), the Supreme Court restated the Exception

stating:

      The probate exception reserves to state probate courts the probate or
      annulment of a will and the administration of a decedent’s estate; it
      also precludes federal courts from endeavoring to dispose of property
      that is in the custody of a state probate court.

Id. at 311-12. The Court explained that federal courts could still adjudicate rights

in property that was subject to the control of a probate court so long as the court’s

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judgment “does not undertake to interfere with the state court’s possession save to

the extent that the state court is bound by the judgment to recognize the rights

adjudicated by the federal court.” Id. at 310 (quoting Markham v. Allen, 326 U.S.

490, 494, 66 S.Ct. 296, 90 L.Ed. 256 (1946).

      Under the facts of this case, enforcement of the injunction against Rogers

would cross the line drawn by the Supreme Court and the subsequent Fifth Circuit

Court of Appeals’ interpreting Marshall. For example, in Curtis v. Brunsting, 704

F.3d 406 (5th Cir. 2013), the Fifth Circuit interpreted the Supreme Court’s

Marshall opinion to require a two pronged analysis, to look at “(1) whether the

property in dispute is estate property within the custody of the probate court and

(2) whether the plaintiff’s claims would require the federal court to assume in rem

jurisdiction over that property.” Id. at 409.

      By enforcing the injunction against Rogers, the Bankruptcy Court might not

be literally assuming in rem jurisdiction directly over property under

administration in the Probate Court, but the Court would effectively be doing so by

preventing the Probate Court’s administration of that property, because

enforcement of the Bankruptcy Court’s injunction against Rogers would prevent

the Probate Court from administering the estate property under its control. Rogers

has been appointed by the Probate Court to hold the Estate’s and the Residuary

Trust’s claims against Cliff and Hazel and to prosecute them. Enforcing the
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injunction would have the effect of interfering with the Probate Court’s custody of

the Estate’s and Residuary Trust’s “res,” which is precluded by the Probate

Exception.

      A similar situation arose in the Tom Benson litigation in San Antonio.

There, the probate court appointed receivers for the testamentary trusts of Shirley

L. Benson. Tom Benson attempted to remove the case to a federal district court in

the Western District. The district court remanded the case, holding, among other

reasons, that the trust and estate property was in the probate court’s custody and

“the Court therefore may not assume in rem jurisdiction over or otherwise dispose

of the property. Because removal would require the Court to both assume in rem

jurisdiction over and administer the trust and estate property, the Court is barred

from accepting jurisdiction.” Benson v. Benson, 2015 WL 3622335 (W.D. Tex).

      Although one can argue that the Benson removal action is different because

it completely eliminated the probate court’s jurisdiction; here, enjoining Rogers

would have the same inappropriate result. If the Bankruptcy Court enjoins Rogers,

the Probate Court would no longer be able to administer or protect the Estate and

Residuary Trust property under its control. Preventing Rogers from carrying out

his Probate Court-authorized duty with respect to the assets of testamentary trusts

under the control of the Probate Court violates the Probate Exception.


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         IV. In The Alternative, If The Injunction Applies to Rogers,
                            It Should Be Lifted

      If the Court finds that the injunction could apply to Rogers for pursuing the

post-settlement claims, the Court should lift the injunction so that Rogers can carry

out his duties and prosecute the claims as authorized by the Probate Court. The

Bankruptcy Court has previously recognized that the Live Oak County probate

litigation was permitted (Ex 3). Although that probate lawsuit initially involved

only claims against Hazel and Rogers’ lawsuit will involve claims against both

Cliff and Hazel’s estate, Rogers must be allowed to prosecute his claims as

authorized by the Probate Court. Therefore, to the extent the injunction applies to

Rogers, the Court should lift the injunction to specifically allow Rogers to pursue

his claims against Cliff and Hazel’s estate and any other Party to the injunction

against whom Rogers may have claims.

                                        V. Prayer

      WHEREFORE, Rogers prays the Court find that he has not violated the
injunction; that he is not in contempt; that he should not be sanctioned; that the
injunction does not apply to him; that, to the extent the injunction does apply, it is
lifted; and grant him general relief.
                                          Respectfully submitted,

                                          THE HARTNETT LAW FIRM

                                          By:    /s/ Jim Hartnett, Jr.
                                                 Jim Hartnett, Jr.
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                                        RECEIVER OF THE MARITAL TRUST
                                        AND RESIDUARY TRUST UNDER THE
                                        WILL OF L. R. HOSKINS, SR.,
                                        DECEASED

                             CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing was served (ii)
via email to the persons below on September 22ND, 2016; and (iii) via email upon
the parties that receive electronic notice in these cases pursuant to the Court’s ECF
filing system. Most of the parties and lawyers below are not participants in the
bankruptcy case.

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                                           /s/ Jim Hartnett, Jr.
                                             Jim Hartnett, Jr




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                                                  APPENDIX


                                                                                                          Exhibit
Order Authorizing Compromise of Controversy Between Southwest
Ranching, Inc., Hoskins, Inc., Hazel Hoskins, Lee Roy Hoskins, Jr.,
Colonel Clifton Hoskins, and Others (07/01/02)
(The Permanent Injunction) .................................................................................... 1

Order Regarding Motion to Dismiss Adversary Proceeding (10/30/13) ................ 2

Memorandum Opinion and Order on Emergency Motion to
Enforce Permanent Injunction (12/17/13) .............................................................. 3

Arbitrator’s Order Appointing Receiver (04/16/13) ............................................... 4

Probate Court’s Order Appointing Receiver (10/01/15) ........................................ 5

Application for Authority to Investigate, Pursue,
and Settle Claims (06/13/16) .................................................................................. 6

Order Granting Receiver’s Application for Authority to Investigate,
Pursue, and Settle Claims (06/16/16) and Order Granting Receiver’s
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